Case No. 1:08-cv-01748-ZLW-BNB Document 1 filed 08/15/08 USDC Colorado pg 1 of 2




                                UNITED STATES DISTRICT COURT
                                             For the
                                       District of Colorado



     SANDRA J. STEUWER                                    )
     AND SEAN STEUWER, Plaintiffs                         )
                                                          )      Civil Action No. _______
     v.                                                   )
                                                          )
     BARRY M. JENCSON                                     )
     AND THE UNITED STATES OF AMERICA                     )


                                            COMPLAINT

     1.)         Statement of Jurisdiction: One of the Defendants in this action is the
                 United States of America.

     2.)         On August 19, 2005, in El Paso County, Colorado, at the intersection of
                 Hancock Expressway and S. Circle Dr. Defendant, Barry Jencson
                 negligently and carelessly drove his motor vehicle thus colliding with the
                 rear of Plaintiff’s vehicle.

     3.)         Upon information and belief, Defendant Jencson, at the time the incident
                 occurred, was in the course and scope of his official duties as an active
                 member of the United States Air Force. Therefore, the negligence of
                 Defendant Jencson is imputed to and is the responsibility of the
                 Defendant United States of America.

           4.)      As a direct and proximate result of Defendants’ carelessness and
                    negligence, the Plaintiff sustained physical injuries, lost wages and
                    income, suffered physical and mental pain, permanent disability,
                    incurred significant medical expenses, and other out of pocket losses.

           5.)      At the time of the accident and at all times relevant Sandra Steuwer
                    and Sean Steuwer were married. As a result of Sandra Steuwer’s
                    injuries, Sean Steuwer has sustained a loss of consortium.

           WHEREFORE, Plaintiffs asks that this Court enter judgment against
     Defendants for $1,001,912.93 plus costs.

                 Respectfully submitted this 15th day of August, 2008.
Case No. 1:08-cv-01748-ZLW-BNB Document 1 filed 08/15/08 USDC Colorado pg 2 of 2




                                       HEUSER & HEUSER, L.L.P.
                                       Original duly signed and on file at
                                       Heuser & Heuser, L.L.P.

                                       /s/Gordon J. Heuser
                                       GORDON J. HEUSER, #14744
                                       Attorney for Plaintiffs
                                       625 North Cascade, Suite 300
                                       Colorado Springs, Colorado 80903
                                       Telephone: (719) 520-9909


     Address of Plaintiffs:
     545 Gilcrest Road
     Colorado Springs, CO 80906




                                       2
